Case 2:17-mj-OOl78-I\/|SN Document 13 Filed 10/06/17 Page 1 of 3 Page|D# 23

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UN`ITED STATES DISTRICT COURT v _ ij f - -a l

for the -

EASTERN I)ISTRICT OF VIRGI_NIA

U.S.A. vs. Liam Antinori Docl<et No. 2:l7mil78
Petition on Probation

COMES NOW FRANK WEAVER, PROBAT]ON OFFICER OF THE COURT, presenting an official
report upon the conduct and attitude of Liam Antinori, who was placed on supervision by the Honorable Robert
J. Krask, United States l\/lagistrate Judge, sitting in the Court at Norfolk, Virginia, on the M day ofJ_uly, M,
who fixed the period of supervision at 12 months, and imposed the general terms and conditions heretofore
adopted by the Court and also imposed special conditions and terms as follows:

l. The defendant is prohibited from operating a motor vehicle on a public highway for a period of one
yean

2. The defendant is directed to participate in an alcohol education/treatment program as per Probation.
3. Restricted license as directed by probation.

RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS
FOLLOWS:

Sec At£achmcnt(s)

PRAYING THAT THE COURT WILL ORDER a summons to be issued directing that the offender appear
before the Court to show cause why supervision should not be revoked

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RETURNABLE DATE; //%*/¢/ /Yab/%Vmé¢» .?q, 530 / Z / 3`

ORDER OF COURT l declare under the penalty of perjury that the
foregoing is true and correet.

 

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Considered and ordered this 6/ day of OC/,

20 /7 and ordered filed and made a part of the Executed on: D‘g“a!'>'“g“edby
_ rif Frank|in Weaver
records in the above case. wald L’Dm"f eare:zow.m_as

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Franl< Weaver

W U.S. Probation Officer

 

 

Robenr. iran 703-299_2336
_UnitedBlatesMagistrate Iudae
Robert J. Krask Place: Alexandria, Virginia

United States l\/lagistrate Judge

TO CLERK'S OFFICE

Case 2:17-mj-00178-I\/|SN Document 13 Filed 10/06/17 Page 2 of 3 Page|D# 24

Case 2:17-mj-00178-I\/|SN Document 13 Filed 10/06/17 Page 3 of 3 Page|D# 25

Petition on Probation
Page 2
RE: ANTINORI, Liam

OFFENSE: Driving Under the Influence of Alcohol, in violation ofTitle 18, U.S.C. §§ 7&13, assimilating Code
of Virginia §§ 18.2-266 and 18.2-270.

SENTENCE: On July 19, 2017, the defendant was sentenced to 12 months supervised probation under the
aforementioned special conditions The defendant was further ordered to pay a $250.00 fine and a $25.00
special assessment.

ADJUSTMENT TO SUPERVISION: Mr. Antinori’s term of supervised probation commenced on July 19,
2017. Since the inception of supervision the defendant has lived in the Fredericksburg area and has rented a
room from a friend. Currently, the defendant is employed as a server at the Lafayette Diner in Fredericksburg,
Virginia; however, to date, the defendant has failed to provide employment verification

The defendant has reported to the probation office as instructed, and has complied with all regular and special
conditions of supervision. Currently, the defendant is enrolled in treatment at the Rappahannock Area Alcohol
Safety Action Program and collateral contacts with the agency have confirmed the defendant remains in
compliance with treatment requirements The defendant paid his monetary penalties effective July 19, 2017 .

VIOLATION: The following violation is submitted for the Court’s consideration.

MANDATORY CONDITION: COMMlSSION OF A CRIME - OBTAIN CREDIT CARD
NUMBER LARCENY; CONSPIRE/AID/ABET LARCENY
GREATER THAN $200; TWO COUNTS OF ENTER/SET IN
MOTION VEHlCLE.

On September 30, 2017, Liam Antinori was arrested and charged With the above referenced criminal conduct by
the Spotsylvania County Sheriff’s Department. According to the police report, on September 30, 2017, Deputy
Pearce with the Spotsylvania County Sheriff’s Department responded to a call regarding individuals breaking
into vehicles in a local community. Deputy Pearce Was patrolling the neighborhood looking for suspicious
activity when he spotted a vehicle parked on the side of the road With three occupants. When he approached the
vehicle, Mr. Antinori was sitting in the driver’s seat. The undersigned notes a review of the police report did not
indicate the deputy observed Mr. Antinori operating the vehicle at any point. Upon investigation, and through
interviews With residents, deputies learned the defendant and two other individuals were walking throughout the
neighborhood breaking into vehicles and stealing contents of the vehicles. The items taken from the vehicles
included, but were not limited to, money and credit cards. Mr. Antinori Was taken into custody as a result of the
offense.

This matter is scheduled to be heard before the Spotsylvania County General District Court on November 9,
2017. The defendant was released from the custody of the Rappahannock Regional Jail on October 3, 2017.

FJW/smk

Prob 12 (10/09)
VAE (rev. 5/17)

